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  UNITED STATES BANKRUPTCY COURT
  DISTRICT OF NEW JERSEY
  Caption in Compliance with D.N.J. LBR 9004-2(c)

  HALPERIN BATTAGLIA RAICHT, LLP
  555 Madison Avenue – 9th Floor
  New York, New York 10022
  (212) 765-9100
  (212) 765-0964 Facsimile
  Alan D. Halperin, Esq.
  Donna Lieberman, Esq.

  COLE, SCHOTZ, MEISEL,
  FORMAN & LEONARD, P.A.
  A Professional Corporation
  Court Plaza North
  25 Main Street
  P.O. Box 800
  Hackensack, New Jersey 07602-0800
  (201) 489-3000
  (201) 489-1536 Facsimile
  Michael D. Sirota, Esq.
  Ilana Volkov, Esq.
  Warren A. Usatine, Esq.

  Co-Counsel to the Official Committee of Unsecured
  Creditors of Shapes/Arch Holdings L.L.C., et al.

                                                        Chapter 11
  In re:
                                                        Case No. 08-14631
  SHAPES/ARCH HOLDINGS L.L.C., et al.,                  (Jointly Administered)

                         Debtors.                       Judge: Hon. Gloria M. Burns

                                                        Hearing Date: May ___, 2008

         ORDER SHORTENING TIME FOR NOTICE OF HEARING ON
     MOTION OF THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS
      FOR ENTRY OF AN ORDER APPOINTING A CHAPTER 11 TRUSTEE
                 PURSUANT TO 11 U.S.C. §§ 1104 AND 1106

           The relief set forth on the following pages, numbered two (2) through three (3), is

  hereby ORDERED.




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  Debtor:                   SHAPES/ARCH HOLDINGS L.L.C., et al.
  Case No.                  08-14631(GMB) (JOINTLY ADMINISTERED)
  Caption of Order:         ORDER SHORTENING TIME FOR NOTICE OF HEARING ON
                            MOTION OF THE OFFICIAL COMMITTEE OF UNSECURED
                            CREDITORS FOR ENTRY OF AN ORDER APPOINTING A
                            CHAPTER 11 TRUSTEE PURSUANT TO 11 U.S.C. §§ 1104
                            AND 1106


            THIS MATTER having been opened to the Court by The Official Committee of

  Unsecured Creditors (the “Committee”) of Shapes/Arch Holdings L.L.C., et al. (the

  “Debtors”), by and through its co-counsel, upon an Application for entry of an order

  shortening the time period for notice and setting a hearing on the Committee’s motion

  (the “Motion”) for entry of an order appointing a Chapter 11 trustee in these Chapter 11

  cases pursuant to 11 U.S.C. §§1104 and 1106 (the “Motion); and the Court having

  considered the Application and determined that good cause exists for the entry of this

  Order,

            IT IS ORDERED as follows:

            1.       The time period required by Local Rule of Bankruptcy Procedure

  9013-1(c) for notice of a hearing on the Motion be and hereby is reduced as set forth

  herein.

            2.       A hearing on the Motion shall be conducted on May ___, 2008, at 10:00

  a.m., before the Honorable Gloria M. Burns, U.S.B.J., at the United States Bankruptcy

  Court, Mitchell H. Cohen U.S. Courthouse, 400 Cooper Street, 4th Floor, Camden, New

  Jersey 08101.

            3.       Within one (1) day of entry of this Order, counsel for the Committee shall

  serve copies of this Order Shortening Time and all pleadings submitted in support of the

  Motion on the following parties by overnight mail, priority morning delivery: (a) the

  Office of the United States Trustee for the District of New Jersey; (b) counsel for the


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                            CHAPTER 11 TRUSTEE PURSUANT TO 11 U.S.C. §§ 1104
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  Debtors; (c) counsel for Arcus ASI Funding, LLC and Arcus ASI, Inc.; (d) counsel for

  The CIT Group/Business Credit, Inc., as agent for itself and for JP Morgan Chase Bank,

  N.A. and Textron Financial Corporation; and (e) all parties that have filed a notice of

  appearance, except to the extent any said parties receive electronic notification of filings

  via the Court’s CM/ECF System.

           4.        Any objections to the relief sought in the Motion shall be in writing,

  specify with particularity the basis of the objection and be filed with the Clerk of the

  United States Bankruptcy Court electronically by attorneys who regularly practice before

  the Bankruptcy Court in accordance with the General Order Regarding Electronic Means

  for Filing, Signing, and Verification of Documents dated March 27, 2002 (the “General

  Order”) and the Commentary Supplementing Administrative Procedures dated as of

  March 2004 (the “Supplemental Commentary”) (the General Order, the Supplemental

  Commentary and the User’s Manual for the Electronic Case Filing System can be found

  at www.njb.uscourts.gov, the official website for the Bankruptcy Court) and, by all other

  parties-in-interest, on CD-ROM in Portable Document Format (PDF), no later than

  ______ o’clock in the ____ noon on May __, 2008.

           5.        Unless objections are timely filed, the Motion shall be deemed

  uncontested in accordance with D.N.J. LBR 9013-1(a), and the relief requested may be

  granted without a hearing.




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